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JRB 58540-76 ARDC #6278964

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

KENDALL L. PERRY,

Plaintiff, Case No.

Judge:
Magistrate Judge:

ROUNDY’S SUPERMARKET, INC.,
RAVENSWOOD STATION LLC,
TAXMAN CORPORATION, K53]
ROUNDY’S ILLINOIS (MARIANO’S),
ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’s and MARIANO’s aka
MARIANO’s FRESH MARKET and
THE KROGER CO.

Naeem nme! et! eee” “ee! See! “met” Ne” el” ee” See! Ne! ee Set” Ne’! ee!” nga!

Defendants.
NOTICE OF REMOVAL
Pursuant to Title 28 U_S.C. § 1441, et seq. and 28 U.S.C. § 1332, Defendants, ROUNDY'S
ILLINOIS INC. d/b/a MARIANO'S, incorrectly sued as K531 ROUNDY’S ILLINOIS
(MARIANO’S), MARIANO’S a/k/a MARIANO’S FRESH MARKET, THE KROGER
CO., RAVENSWOOD STATION, LLC and TAXMAN CORPORATION, by and through
their counsel, hereby give notice of the removal of the above-captioned action from the Circuit
Court of Cook County, Case No. 2021 L 003230, to the United States District Court for the
Northern District of Iinois, Eastern Division, and in support thereof, state the following:
1. This action is being removed to federal court based upon the diversity of citizenship
of the proper parties to this cause, and the existence of the requisite amount in controversy, as is

also more fully stated below,

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2. On or about March 25, 2021, Plaintiff Kendall L. Perry initiated the above-

captioned lawsuit by filing a Complaint entitled Kendall L. Perry v. Roundy ’s Supermarket, Inc.,

Ravenswood Station LLC, Taxman Corporation, K531 Roundy’s Hlinois (Mariano’s), Roundy’s

Illinois, LLC d/b/a Mariano’s, Mariano’s aka Mariano’s Fresh Market and The Kroger Co., in

the Circuit Court of Cook County, Iilinois. A copy of the Complaint is attached hereto as Exhibit

1, and it is incorporated herein by reference.

1. On or about April 9, 2021, service was made upon all Defendants as attached hereto
as Exhibit 2.
2, The United States District Court for the Northern District of [linois, Eastern

Division, has jurisdiction over the above-captioned lawsuit pursuant to 28 U.S.C, § 1332 and 28

U.S.C. § 1441 for the following reasons:

a.

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Plaintiff Kendall L. Perry at the time the lawsuit was commenced and at all
relevant times, has presumably been a resident and citizen of the State of
Illinois;

Defendant Roundy’s [lHnois Inc. d/b/a Mariano’s, incorrectly sued as,
Roundy’s Supermarkets, Inc., K531 Roundy’s Illinois (Mariano’s),
Mariano’s aka Mariano’s Fresh Market, at the time the lawsuit was
commenced and at all relevant times, has been an a Wisconsin corporation
with its principal place of in Wisconsin making it a citizen of the State of
Wisconsin;

Defendant The Kroger Co. at the time the lawsuit was commenced and at
all relevant times, has been an Ohio Corporation with its principal place of
business located in the State of Ohio making it a citizen of the State of Ohio;

Defendants Ravenswood Station, LLC and Taxman Corporation, while both
Illinois Corporations, are improper Defendants pursuant to 28 U.S.C.
§1441(b) as neither Defendant had any responsibility for the area where
Plaintiff fell. (See Affidavit of Cynthia Luken attached hereto as Exhibit 3
and Motion to Dismiss and Memorandum in Support of Motion to Dismiss
Ravenswood Station, LLC and Taxman Corporation, filed concurrently
with the instant Notice of Removal);
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e. According to the allegations contained in Plaintiff's Complaint herein, the
amount of damages sought in this action by Plaintiff is in an amount in
excess of the Circuit Court of Cook County’s minimal jurisdictional limit
of $50,000.00. Plaintiff Kendall L. Perry claims that he “suffered diverse
injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind and
was caused to expend and in the future will be compelled to expend large
sums of money for medical care, treatment and services in endeavoring to
be cured of said injuries and will continue to suffer in the future acute and
prolonged physical and mental pain and suffering.” (Exhibit 1, § 8-9) Such
allegations are sufficient to trigger the duty to remove the case. McCoy v,
General Motors Corp., 226 F. Supp. 2d 939 (N.D. Ill. 2002); Varkalis v.
Werner Co, & Lowe’s Home Ctr., No. 10 C 03331, 2010 US. Dist. LEXIS
84870 (N.D. Ii]. Aug. 18, 2010), a copy of which decision is attached hereto
as Exhibit 4.

f. Based upon the foregoing, it is Defendants’ good-faith belief that while
liability, causation, and damages will be contested, the amount in
controversy in this action exceeds $75,000.00, exclusive of interest and
costs;

g. Defendants Roundy’s IUinois Inc. d/b/a Mariano’s, incorrectly sued as
Roundy’s Supermarkets, Inc, K531 Roundy’s Illinois (Mariano’s),
Mariano’s aka Mariano’s Fresh Market, and The Kroger Co., Ravenswood

Station, LLC and Taxman Corporation, by and through their counsel,
consent to the removal of this action;

h. This Notice of Removal is being filed with the Clerk of the United States
District Court for the Northern District of Ilhinois, Eastern Division, within
thirty (30) days of service of the Summons and Complaint upon each
Defendant;
i, Because complete diversity exists and the minimum $75,000.00 threshold
is satisfied, diversity jurisdiction exists and this action is properly
removable pursuant to 28 U.S.C. § 1441(a).
3. Defendants will provide a copy of the original Notice of Removal with the Clerk
of the Circuit Court of Cook County, Ilinois.
WHEREFORE, Defendants Roundy’s Illinois Inc. d/b/a Mariano’s, incorrectly sued as

Roundy’s Supermarkets, Inc., K531 Roundy’s HWinois (Mariano’s), Mariano’s aka Mariano’s

Fresh Market, and The Kroger Co., Ravenswood Station, LLC and Taxman Corporation,

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respectfully requests that this case proceed before the United States District Court for the Northern

District of Illinois as an action properly removed.

Dated: May 7, 2021 Respectfully submitted,

Jennifer R. Beegle ROUNDY’S ILLINOIS INC. d/b/a
MOLZAHN, REED & ROUSE, LLC MARIANO’S and THE KROGER Co.,
17 North State Street, Suite 1590 Defendants

Chicago, IL 60602
T: (312) 553-8633
F: (312) 917-1851 By: /s/ennifer R. Beegle

Firm I.D. #48396 One of Its Attorneys
jrb@@m2rlaw.com

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS IRIS Y. MARTINEZ

CIRCUIT CLERK
COUNTY DEPARTMENT, LAW DIVISION COOK COUNTY. IL

KENDALL L. PERRY, ) 12716950
)
Plaintiff, ) 2021003230
v. >} No:
)
ROUNDY’S SUPERMARKET, INC., )
RAVENSWOOD STATION LLC, }
TAXMAN CORPORATION, )
K531 ROUNDY’S ILLINOIS (MARIANO’S), )
ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S, +)
MARIANO’S aka MARIANO’S FRESH MARKET, )
and THE KROGER CO. )
)
Defendants. }
COMPLAINT AT LAW

NOW COMES the Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, and for his Complaint at Law against the Defendants, ROUNDY’S
SUPERMARKET, INC., RAVENS WOOD STATION LLC, TAXMAN CORPORATION, K531
ROUNDY’S ILLINOIS (MARIANO’S), ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S,
MARIANO’S aka MARIANO’S FRESH MARKET, and THE KROGER CO., states as follows:

COUNT!
NEGLIGENCE AGAINST ROUNDY’S SUPERMARKET, INC.

1, That on or about May 8, 2019, Defendants, ROUNDY’S SUPERMARKET, INC., was a
Foreign Corporation that is registered to do business in the state of Mlinois with its Principal Office located
at 875 E. Wisconsin Ave., POB 473, Milwaukee, Wisconsin 53202, and its registered agent located at 801
Adlai Stevenson Drive, Springfield, [linois 62703.

2. That on or about May 8, 2019, and for a long time prior thereto, the Defendant,
ROUNDY’S SUPERMARKET, INC., individually and collectively owned, leased, operated, 1800 W.
Lawrence Avenue, Chicago, Illinois 60640 aka MARIANOS and hereinafter referred to as the (“Property”).

3. That on or about May 8, 2019, title to the Property was in the name of MARLANOS.,

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4, That on or about May 8, 2019, the Property was leased to, managed, controlled, possessed,

and operated by the Defendant, ROUNDY’S SUPERMARKET, INC.

5, That on or about May 8, 2019 and for a long time prior thereto, the Defendant, ROUNDY’S
SUPERMARKET, INC., individually or jointly contracted with a third parties for cleaning, maintenance,
custodial, repair, management and janitorial services to and for the Property.

6. That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third party company, permitted to be, and lawfully upon the Property.

7. That on or about May 8, 2019, KENDALL LE. PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fall directly to the floor and ground below.

8. On or about May 8, 2019, the Defendant, ROUNDY’S SUPERMARKET, INC., had
installed, conducted repairs to, cleaned, inspected, serviced and maintained the flooring near the elevator
in the back room of the delivery area/foading dock found on the first floor of the Property

9. On or about May 8, 2019, the Defendant, ROUNDY’S SUPERMARKET, INC., failed to
warn the Plaintiff of the dangerous and hazardous wet, slippery and improper condition of the flooring near
elevator in the back room of the delivery area/loading dock found on the first floor of the Property.

10. On or about May 8, 2019, the Defendant, ROUNDY’S SUPERMARKET, INC, by and
through its agents, employees and servants did not properly clean, repair and maintain the flooring near and
within the back room of the delivery area, near the first elevator on the first floor on the Property.

11. On or about May 8, 2019, the Defendant, ROUNDY’S SUPERMARKET, INC., failed to
properly inspect the flooring near and within the back room of the delivery area, near the first elevator on
the first floor on the Property to determine whether it was proper for safe usage by invitees, customers,
patrons, employees, and the public. .

12. The Defendant, ROUNDY’S SUPERMARKET, INC., was responsible for maintaining,
cleaning, repairing, securing, and preventing the flooring within and near the elevator in the back room of
the delivery area/loading dock found on the first floor of the Property from being unsafe for usage by

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invitees, employees, and the public.

13, On and prior to May 8 2019 ROUNDY’S SUPERMARKET, INC., had notice and
knowledge of the flooring near the elevator in the back room of the delivery area/loading dock found on
the first floor of the Property of being dangerous and hazardous and susceptible to trip, slip and falls.

14, On and prior to May 8, 2019, ROUNDY’S SUPERMARKET, INC., had notice and
knowledge of the flooring within the first floor near elevator in the back room of the delivery area/loading
dock found on the first floor of the Property being a location where water, oil, slippery or other wet
substances occurred and was susceptible to trip, slip and falls.

15, On and prior to May 8, 2019, ROUNDY’S SUPERMARKET, INC., had notice and
knowledge of a leak, condensation, or other water leaking and pooling near the elevator in the back room

of the delivery area/loading dock found on the first floor of the Property.

16. That it then and there became and wes the duty of the Defendant, ROUNDY’S
SUPERMARKET, INC., to exercise reasonable care to maintain, monitor, repair, inspect, clean, remove
liquids, and construct the flooring near elevator in the back room of the delivery area/ioading dock found
on the first floor of the Property in a reasonably safe condition for the safety of the general public, its
patrons, customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

17. That not regarding its duty aforesaid, the Defendant, ROUNDY’S SUPERMARKET,
INC., by its duly authorized agents, servants and/or employees, was guilty of one or more of the following

careless and negligent acts and/or omissions:

a. Failed to inspect the flooring near elevator in the back room of the delivery
atea/loading dock found on the first floor of the Property and maintain it in a safe
condition;

b. Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

c. Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

d, Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

e. Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created

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a dangerous and hazardous condition to patrons, customers, invitees and employees;

f. Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

g. Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area;

h. Mopped or otherwise diverted water or other liquids into an area that would be
susceptible to trip, slip and falls;

i. Carelessly and negligently supervised, trained, or contracted with a third party fo
repair, clean, maintain, service, and inspect the Property;

j. Allowed a Jeak or runoff directly into an area which created a dangerous and hazardous
condition;

k. Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

1. Allowed water leaks or other liquid substance to remain within the Property for an
unreasonably long period of time;

m. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous
and hazardous condition;

n. Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

o. Failed to properly manage the Property;

p. Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

q. Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the
Property.

18. That as a direct and proximate result of one or more of the aforesaid careless and negligent
acts or omissions of the Defendant, ROUNDY’S SUPERMARKET, INC., KENDALL L. PERRY was
caused to and did slip and trip and fall to the ground.

19. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL
L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental

pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
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disfigurement and/or disability; the Piaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large

sums of money and the Plaintiff has been and in the future will be prevented from attending to his

usual affairs and duties.

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attomeys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, ROUNDY’S SUPERMARKET, INC.,
for a sum of money in excess of FIFTY THOUSAND DOLLARS [350,000.00], and such additional
amounts as the jury and the Court shall deem proper and appropriate under the circumstances provided
herein, inclusive of the costs of bringing this action.

COUNT I
NEGLIGENCE AGAINST RAVENSWOOD STATION LLC

20. That on or about May 8, 2019, Defendants, RAVENSWOOD STATION LLC, was an
Illinois Limited Liability Company doing business in the state of IMinois with offices of its registered agent
located at 100 Village Green, Suite 200, Lincolnshire, IL 60069.

21. That on or about May 8, 2019, and for a long time prior thereto, the Defendant,
RAVENSWOOD STATION LLC, individually and collectively owned, leased, operated, 1800 W.
Lawrence Avenue, Chicago, Illinois 60640 aka MARIANOS and hereinafter referred to as the (“Property”).

22, That on or about May 8, 2019, title to the Property was in the name of RAVENSWOOD
STATION LLC.

23. That on or about May 8, 2019, the Property was owned, leased to, managed, controlled,
possessed, and operated by the Defendant, RAVENS WOOD STATION LLC,

24, That on or about May 8, 2019 and for a long time prior thereto, the Defendant,

RAVENSWOOD STATION LLC, individually or jointly contracted with a third parties for cleaning,
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maintenance, custodial, repair, management and janitorial services to and for the Property.

25, That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and lawfully upon the Property.

26. That on or about May 8, 2019, KENDALL L. PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fall directly to the floor and ground below.

27.- On or about May 8, 2019, the Defendant, RAVENS WOOD STATION LLC, had installed,
conducted repairs to, cleaned, inspected, serviced and maintained the flooring near the elevator in the back
room of the delivery area/loading dock found on the first floor of the Property

28. On or about May 8, 2019, the Defendant, RAVENS WOOD STATION LLC, failed to warn
the Plaintiff of the dangerous and hazardous wet, slippery and improper condition of the flooring near
elevator in the back room of the delivery area/ioading dock found on the first floor of the Property.

29, On or about May 8, 2019, the Defendant, RAVENSWOOD STATION LLC, by and
through its agents, employees and servants did not properly clean, repair and maintain the flooring near and
within the back room of the delivery area, near the first elevator on the first floor on the Property.

30, On or about May 8, 2019, the Defendant, RAVENSWOOD STATION LLC, failed to
properly inspect the flooring near and within the back room of the delivery area, near the first elevator on
the first floor on the Property to determine whether it was proper for safe usage by invitees, customers,
patrons, employees, and the public.

31. The Defendant, RAVENSWOOD STATION LLC, was responsible for maintaining,
cleaning, repairing, securing, and preventing the flooring within and near the elevator in the back room of
the delivery area/loading dock found on the first floor of the Property from being unsafe for usage by
invitees, employees, and the public.

32, On and prior to May 8, 2019 RAVENS WOOD STATION LLC, had notice and knowledge
of the flooring near the elevator in the back room of the delivery area/loading dock found on the first floor
of the Property of being dangerous and hazardous and susceptible to trip, slip and falls,

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33. On and prior to May 8, 2019, RAVENS WOOD STATION LLC, had notice and knowledge
of the flooring within the first floor near elevator in the back room of the delivery area/loading dock found
on the first floor of the Property being a location where water, oil, slippery or other wet substances occurred

and was susceptible to trip, slip and falis.

34. Onand prior to May 8, 2019, RAVENS WOOD STATION LLC, had notice and knowledge
ofa leak, condensation, or other water leaking and pooling near the elevator in the back room of the delivery

area/loading dock found on the first floor of the Property.
35. That it then and there became and was the duty of the Defendant, RAVENSWOOD

STATION LLC, to exercise reasonable care to maintain, monitor, repair, inspect, clean, remove liquids,
and construct the flooring near elevator in the back room of the delivery area/loading dock found on the
first floor of the Property in a reasonably safe condition for the safety of the general public, its patrons,
customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

36. That not regarding its duty aforesaid, the Defendant, RAVENSWOOD STATION LLC,
by its duly authorized agents, servants and/or employees, was guilty of one or more of the following careless

and negligent acts and/or omissions:

a. Failed to inspect the flooring near elevator in the back room of the delivery
atea/loading dock found on the first floor of the Property and maintain it in a safe
condition;

b. Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

c. Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

d. Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

e. Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition to patrons, customers, invitees and employees;

f. Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

g. Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area;

h. Mopped or otherwise diverted water or other liquids into an area that would be

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susceptible to trip, slip and falls;

ji. Carelessly and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

j. Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

k. Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on

the first floor of the Property;
Il. Allowed water leaks or other liquid substance to remain within the Property for an

unreasonably long period of time;

m. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous
and hazardous condition;

n. Failed to repair a leak; puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

o. Failed to properly manage the Property;

p. Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

q. Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading deck found on the first floor of the

Property.
37. That as a direct and proximate result of one or more of the aforesaid careless and negligent

acts or omissions of the Defendant, RAVENSWOOD STATION LLC, KENDALL L. PERRY was caused

to and did slip and trip and fall to the ground.

38. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL
L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large

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sums of money and the Plaintiff has been and in the future will be prevented from attending to his

usual affairs and duties,

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, RAVENS WOOD STATION LLC, for
a sum of money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and such additional amounts
as the jury and the Court shall deem proper and appropriate under the circumstances provided herein,
inclusive of the costs of bringing this action.

COUNT IH
NEGLIGENCE AGAINST TAXMAN CORPORATION

39, That on or about May 8, 2019, Defendants, TAXMAN CORPORATION, was an Illinois
Corporation doing business in the state of Illinois with offices of its registered agent located at 5215 Old
Orchard Road, Suite 130, Skokie, Illinois 60077.

40. That on or about May 8, 2019, and for a long time prior thereto, the Defendant, TAXMAN
CORPORATION, individually and collectively owned, leased, operated, 1800 W. Lawrence Avenue,
Chicago, Mlinois 60640 aka MARIANOS and hereinafter referred to as the (“Property”).

41. That on or about May 8, 2019, title to the Property was in the name of TAXMAN
CORPORATION.

42, That on or about May 8, 2019, the Property was owned, leased to, managed, controlled,
possessed, and operated by the Defendant, TAXMAN CORPORATION.

43, That on or about May 8, 2019 and for a long time prior thereto, the Defendant, TAXMAN
CORPORATION, individually or jointly contracted with a third parties for cleaning, maintenance,
custodial, repair, management and janitorial services to and for the Property.

44, That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and lawfully upon the Property.

45, That on or about May 8, 2019, KENDALL LL. PERRY was walking within the first floor

near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped

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and was caused fo and fali directly to the floor and ground below.

46. On or about May 8, 2019, the Defendant, TAXMAN CORPORATION, had installed,
conducted repairs to, cleaned, inspected, serviced and maintained the flooring near the elevator in the back
room of the delivery area/loading dock found on the first floor of the Property

47. On or about May 8, 2019, the Defendant, TAXMAN CORPORATION, failed to warn the
Plaintiff of the dangerous and hazardous wet, slippery and improper condition of the flooring near elevator
in the back room of the delivery area/loading dock found on the first floor of the Property.

48. On or about May 8, 2019, the Defendant, TAXMAN CORPORATION, by and through its »
agents, employees and servants did not properly clean, repair and maintain the flooring near and within the
back room of the delivery area, near the first elevator on the first floor on the Property.

49. On or about May 8, 2019, the Defendant, TAXMAN CORPORATION, failed to properly
inspect the flooring near and within the back room of the delivery area, near the first elevator on the first
floor on the Property to determine whether it was proper for safe usage by invitees, customers, patrons,
employees, and the public.

50. The Defendant, TAXMAN CORPORATION, was responsible for maintaining, cleaning,
repairing, securing, and preventing the flooring within and near the elevator in the back room of the delivery
area/loading dock found on the first floor of the Property from being unsafe for usage by invitees,
employees, and the public.

51.  Onand prior to May 8, 2019 TAXMAN CORPORATION, had notice and knowledge of
the flooring near the elevator in the back room of the delivery area/loading dock found on the first floor of
the Property of being dangerous and hazardous and susceptible to trip, slip and falls.

52. On and prior to May 8, 2019, TAXMAN CORPORATION, had notice and knowledge of
the flooring within the first floor near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property being a location where water, oil, slippery or other wet substances occurred

and was susceptible to trip, slip and falls.
§3. On and prior to May 8, 2019, TAXMAN CORPORATION, had notice and knowledge of

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a leak, condensation, or other water leaking and pooling near the elevator in the back room of the delivery

area/loading dock found on the first floor of the Property.

54. That it then and there became and was the duty of the Defendant, TAXMAN
CORPORATION, to exercise reasonable care to maintain, monitor, repair, inspect, clean, remove liquids,
and construct the flooring near elevator in the back room of the delivery area/loading dock found on the
first floor of the Property in a reasonably safe condition for the safety of the general public, its patrons,

customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

55. That not regarding its duty aforesaid, the Defendant, TAXMAN CORPORATION, by its
duly authorized agents, servants and/or employees, was guilty of one or more of the following careless and

negligent acts and/or omissions:

a. Failed to inspect the flooring near elevator in the back room of the delivery
area/loading dock found en the first floor of the Property and maintain it in a safe
condition;

b. Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

c. Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

d. Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

e, Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition te patrons, customers, invitees and employees;

f. Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

g. Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area,

h. Mopped or otherwise diverted water or other liquids into an area that would be
susceptible to trip, slip and falls;

i. Carelessly and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

j. Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

k. Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

1. Allowed water Jeaks or other liquid substance to remain within the Property for an
unreasonably long period of time;

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m. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous
and hazardous condition;

n. Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof

o. Failed to properly manage the Property;

p. Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

q. Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the

Property.
56. That as a direct and proximate result of one or more of the aforesaid careless and negligent

acts or omissions of the Defendant, TAXMAN CORPORATION, KENDALL L. PERRY was caused to

and did slip and trip and fall to the ground.

57. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL
L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large

gums of money and the Plaintiff has been and in the future will be prevented from attending to his

usual affairs and duties.
WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, TAXMAN CORPORATION, for a

sum of money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and such additional amounts as
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the jury and the Court shall deem proper and appropriate under the circumstances provided herein, inclusive

of the costs of bringing this action.

COUNT IV
NEGLIGENCE AGAINST K531 ROUNDY’S ILLINOIS (MARIANO’S)

58. That on or about May 8, 2019, Defendants, K531 ROUND Y’S ILLINOIS (MARIANO’S),
was a Foreign Corporation that is registered to do business in the state of JHincis with offices ofits registered
agent located at 1800 W. Lawrence Avenue, Chicago, Illinois 60640.

59. That on or about May 8, 2019, and for a long time prior thereto, the Defendant, K531
ROUNDY’S ILLINOIS (MARIANO’S), individually and collectively owned, leased, operated, 1800 W.
Lawrence Avenue, Chicago, Illinois 60640 aka MARIANOS and hereinafter referred to as the (“Property”).

60. That on or about May 8, 2019, title to the Property was in the name of MARIANOS.

él. That on or about May 8, 2019, the Property was leased to, managed, controlled, possessed,
and operated by the Defendant, (531 ROUNDY’S ILLINOIS (MARIANO’S).

62. That on or about May 8, 2019 and for a long time prior thereto, the Defendant, K531
ROUNDY’S ILLINOIS (MARIANO’S), individually or jointly contracted with a third parties for cleaning,
maintenance, custodial, repair, management and janitorial services to and for the Property.

63. That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and lawfully upon the Property.

64, That on or about May &, 2019, KENDALL L. PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fall directly to the floor and ground below.

65. On or about May 8, 2019, the Defendant, K531 ROUNDY’S ILLINOIS (MARIANO’S),
had installed, conducted repairs to, cleaned, inspected, serviced and maintained the flooring near the
elevator in the back room of the delivery area/loading dock found on the first floor of the Property

66, On or about May 8, 2019, the Defendant, K531 ROUNDY’S ILLINOIS (MARIANO’S)},

failed to warn the Plaintiff of the dangerous and hazardous wet, slippery and improper condition of the

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flooring near elevator in the back room of the delivery area/loading dock found on the first floor of the
Property.

67. On or about May 8, 2019, the Defendant, K53i ROUNDY’S ILLINOIS (MARIANO’S),
by and through its agents, employees and servants did not properly clean, repair and maintain the flooring
near and within the back room of the delivery area, near the first elevator on the first floor on the Property.

68. On or about May 8, 2019, the Defendant, K531 ROUNDY’S PLLINOIS (MARIANO’S),
failed to properly inspect the flooring near and within the back room of the delivery area, near the first
elevator on the first floor on the Property to determine whether it was proper for safe usage by invitees,
customers, patrons, employees, and the public.

69. The Defendant, K53]1 ROUNDY’S ILLINOIS (MARIANO’S), was responsible for
Maintaining, cleaning, repairing, securing, and preventing the flooring within and near the elevator in the
back room of the delivery area/loading dock found on the first Boor of the Property from being unsafe for
usage by invitees, employees, and the public.

70. On and prior to May 8 2019 K531 ROUNDY’S ILLINOIS (MARIANO’S), had notice
and knowledge of the flooring near the elevator in the back room of the delivery area/loading dock found
on the first floor of the Property of being dangerous and hazardous and susceptible to trip, slip and falls.

71. On and prior to May 8, 2019, E531 ROUNDY’S ILLINOIS (MARIANO’S), had notice
and knowledge of the flooring within the first floor near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property being a location where water, oil, slippery or other
wet substances occurred and was susceptible to trip, slip and falls.

72. On and prior to May 8, 2019, KS31 ROUNDY’S ILLINOIS (MARIANO’S), had notice
and knowledge of a leak, condensation, or other water leaking and pooling near the elevator in the back
room of the delivery area/loading dock found on the first floor of the Property.

73. That it then and there became and was the duty of the Defendant, (531 ROUNDY’S
ILLINOIS (MARIANO’S), to exercise reasonable care to maintain, monitor, repair, inspect, clean, remove
liquids, and construct the flooring near elevator in the back room of the delivery area/loading dock found

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on the first floor of the Property in a reasonably safe condition for the safety of the general public, its

patrons, customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

74, That not regarding its duty aforesaid, the Defendant, K531 ROUNDY’S ILLINOIS

(MARIANO’S), by its duly authorized agents, servants and/or employees, was guilty of one or more of the

following careless and negligent acts and/or omissions:

a.

Failed to inspect the flooring near elevator in the back room of the delivery
area/loading deck found on the first floor of the Property and maintain it in a safe
condition; -

Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition to patrons, customers, invitees and employees;
Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area:

Mopped or otherwise diverted water or other liquids into an area that would be
susceptible to trip, slip and falis;

Carelessly and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

Allowed water jeaks or other liquid substance to remain within the Property for an
unreasonably long period of time;

. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous

and hazardous condition;

Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

Failed to properly manage the Property;

Allowed waters or other liquid substances fo leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the

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Property.

75. That as a direct and proximate result of one or more of the aforesaid careless and negligent
acts or omissions of the Defendant, K53 1 ROUNDY’S ILLINOIS (MARIANO’S), KENDALL L. PERRY
was caused to and did slip and trip and fall to the ground.

76. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.

PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,

"which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL”

L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large
sums of money and the Plaintiff has been and in the future will be prevented from attending to his
usual affairs and duties.

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, K531 ROUNDY’S ILLINOIS
(MARIANO’S), for a sum of money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and such
additional amounts as the jury and the Court shall deem proper and appropriate under the circumstances

provided herein, inclusive of the costs of bringing this action.

COUNTY
NEGLIGENCE AGAINST ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S

Ti. That on or about May 8, 2019, Defendants, ROUNDY’S ILLINOIS, LLC, d/b/a

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MARIANO’S was a Foreign Limited Liability Company doing business in the state of Illinois with its
Principal Office located at 875 E, Wisconsin Ave., POB 473, Milwaukee, Wisconsin 53202, and offices of
its registered agent located at 801 Adlai Stevenson Drive, Springfield, Illinois 62703. ROUNDY’S
ILLINOIS, LLC, d/b/a MARTANO’S operates as a wholly owned subsidiary of THE KROGER CO.

78. That on or about May 8, 2019, and for a iong time prior thereto, the Defendant,
ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S, individually and collectively owned, leased, operated,
1800 W. Lawrence Avenue, Chicago, IHinois 60640 aka MARIANOS and hereinafter referred to as the
(“Property”).

79, That on or about May 8, 2019, title to the Property was in the name of MARIANOS.

80. That on or about May 8, 2019, the Property was leased to, managed, controlled, possessed,
and operated by the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/’a MARTANO’S.

81. That on or about May 8, 2019 and for a long time prior thereto, the Defendant, ROUNDY’S
ILLINOIS, LLC, d/b/a MARTANO’S, individually or jointly contracted with a third parties for cleaning,
maintenance, custodial, repair, management and janitorial services to and for the Property.

82. That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and Jawfully upon the Property.

83, That on or about May 8, 2019, KENDALL L. PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fall directly to the floor and ground below.

84, On or about May 8, 2019, the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’S, had installed, conducted repairs to, cleaned, inspected, serviced and maintained the flooring
near the elevator in the back room of the delivery area/loading dock found on the first floor of the Property

85. On or about May 8, 2019, the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’S, failed to warn the Plaintiff of the dangerous and hazardous wet, slippery and improper
condition of the flooring near elevator in the back room of the delivery area/loading dock found on the first

floor of the Property.
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86, On or about May 8, 2019, the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’S, by and through its agents, employees and servants did not properly clean, repair and
maintain the flooring near and within the back room of the delivery area, near the first elevator on the first
floor on the Property.

87. On or about May 8, 2019, the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’S, failed to properly inspect the flooring near and within the back room of the delivery area,
near the first elevator on the first-floor onthe Property to determine whether it was proper for safe usage
by invitees, customers, patrons, employees, and the public.

88. The Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S, was responsible for
maintaining, cleaning, repairing, securing, and preventing the flooring within and near the elevator in the
back room of the delivery area/loading dock found on the first floor of the Property from being unsafe for
usage by invitees, employees, and the public.

89. On and prior to May 8, 2019, ROUND Y’S ILLINOIS, LLC, d/b’fa MARIANO’S, had
notice and knowledge of the flooring near the elevator in the back reom of the delivery area/loading dock
found on the first floor of the Property of being dangerous and hazardous and susceptible to trip, slip and

falls.
90. On and prior to May §, 2019, ROUNDY’S ILLINOIS, LLC, d/bfa MARIANO’S, had

notice and knowledge of the flooring within the first floor near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property being a location where water, oil, slippery or other
wet substances occurred and was susceptible to trip, slip and falls.

91. On and prior to May 8, 2019, ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S, had
notice and knowledge of a leak, condensation, or other water leaking and pooling near the elevator in the
back room of the delivery area/loading dock found on the first floor of the Property.

92. That it then and there became and was the duty of the Defendant, ROUNDY’S ILLINOIS,
LLC, d/b/a MARIANO’S, to exercise reasonable care to maintain, monitor, repair, inspect, clean, remove
liquids, and construct the flooring near elevator in the back room of the delivery area/loading dock found

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on the first floor of the Property in a reasonably safe condition for the safety of the general public, its

patrons, customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

93. That not regarding its duty aforesaid, the Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a

MARIANO’S, by its duly authorized agents, servants and/or employees, was guilty of one or more of the

following careless and negligent acts and/or omissions:

a.

Failed to inspect the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property and maintain it in a safe
condition;

Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition to patrons, customers, invitees and employees;
Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition; .

Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area;

Mopped or otherwise diverted water or other liquids into an area that would be
susceptible to trip, slip and falls;

Carelessly and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

Allowed water leaks or other liquid substance to remain within the Property for an
unreasonably long period of time:

. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous

and hazardous condition;

Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

Failed to properly manage the Property;

Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the

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Property.

94. That as a direct and proximate result of one or more of the aforesaid careless and negligent
acts or omissions of the Defendant, ROUNDY'’S ILLINOIS, LLC, d/b/a MARIANO’S, KENDALL L.
PERRY was caused to and did slip and trip and fall to the ground.

95, That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL
L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large
sums of money and the Plaintiff has been and in the future will be prevented from attending to his
usual affairs and duties.

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’S, for a sum of money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and such
additional amounts as the jury and the Court shall deem proper and appropriate under the circumstances

provided herein, inclusive of the costs of bringing this action.

COUNT VI
NEGLIGENCE AGAINST MARIANO’S aka MARIANO’S FRESH MARKET

96. That on or about May 8, 2019, Defendants, MARIANO’S aka MARIANO’S FRESH

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MARKET, was owned by the Co-Defendant, THE KROGER CO., a Foreign Corporation with corporate
offices and its Principal Office located at 1014 Vine St, Cincinnati, Ohio 45202, and its agent located at
801 Adlai Stevenson Drive, Springfield, [inois 62703. Co-Defendant ROUNDY’S ILLINOIS, LLC,
operates as a wholly owned subsidiary of THE KROGER CO.

97. That on or about May 8, 2019, and for a long time prior thereto, the Defendant,
MARIANO’S aka MARIANO’S FRESH MARKET, individually and collectively owned, leased, operated,
1800 W. Lawrence Avenue, Chicago, Illinois 60640 aka MARIANOS and hereinafter referred to as the
(“Property”).

98. That on or about May 8, 2019, title to the Property was in the name of MARIANOS.

99, That on or about May 8, 2019, the Property was leased to, managed, controlled, possessed,
and operated by the Defendant, MARIANO’S aka MARIANO’S FRESH MARKET.

100. That on or about May 8, 2019 and for a jong time prior thereto, the Defendant,
MARIANO’S aka MARIANO’S FRESH MARKET, individuaily or jointly contracted with a third parties
for cleaning, maintenance, custodial, repair, management and janitorial services to and for the Property,

101. That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and lawfully upon the Property.

102. That on or about May 8, 2019, KENDALL L, PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fal] directly to the floor and ground below.

103. On or about May 8, 2019, the Defendant, MARIANO’S aka MARIANO’S FRESH
MARKET, had installed, conducted repairs to, cleaned, inspected, serviced and maintained the flooring
near the elevator in the back room of the delivery area/loading dock found on the first floor of the Property

104. On or about May 8, 2019, the Defendant, MARIANO’S aka MARIANO’S FRESH
MARKET, failed to warn the Plaintiff of the dangerous and hazardous wet, slippery and improper condition
of the flooring near elevator in the back room of the delivery area/loading dock found on the first floor of

the Property.
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105. On or about May 8, 2019, the Defendant, MARIANO’S aka MARIANO’S FRESH
MARKET, by and through its agents, employees and servants did not properly clean, repair and maintain
the flooring near and within the back room of the delivery area, near the first elevator on the first floor on
the Property.

106. On or about May 8, 2019, the Defendant, MARIANO’S aka MARIANO’S FRESH
MARKET, failed to properly inspect the flooring near and within the back room of the delivery area, near
the first elevator on the first floor on the Property to determine whether it was proper for safe usage by
invitees, customers, patrons, employees, and the public.

107. The Defendant, MARIANO’S aka MARIANO’S FRESH MARKET, was responsible for
maintaining, cleaning, repairing, securing, and preventing the flooring within and near the elevator in the
back room of the delivery area/loading dock found on the first floor of the Property from being unsate for
usage by invitees, employees, and the public.

108. On and prior to May 8 2019 MARIANO’S aka MARIANO’S FRESH MARKET, had
notice and knowledge of the flooring near the elevator in the back room of the delivery area/loading dock
found on the first floor of the Property of being dangerous and hazardous and susceptible to trip, slip and
falls.

109. On and prior to May 8, 2019, MARLANO’S aka MARIANO’S FRESH MARKET, had
notice and knowledge of the flooring within the first floor near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property being a location where water, oil, slippery or other
wet substances occurred and was susceptible to trip, slip and falls.

110. On and prior to May 8, 2019, MARIANO’S aka MARIANO’S FRESH MARKET, had
notice and knowledge of a leak, condensation, or other water leaking and pooling near the elevator in the
back room of the delivery area/loading dock found on the first floor of the Property.

111. That it then and there became and was the duty of the Defendant, MARIANO’S aka
MARIANO’S FRESH MARKET, to exercise reasonable care to maintain, monitor, repair, inspect, clean,
remove liquids, and construct the flooring near elevator in the back room of the delivery area/loading dock

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found on the first floor of the Property in a reasonably safe condition for the safety of the general public,

its patrons, customers, invitees, the Plaintiff, and those persons lawfully upon and around said Property.

112. That not regarding its duty aforesaid, the Defendant, MARIANO’S aka MARTANO’S

FRESH MARKET, by its duly authorized agents, servants and/or employees, was guilty of one or more of

the following careless and negligent acts and/or omissions:

a.

Failed to inspect the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property and maintain it in a safe
condition;

Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

Carelessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition to patrons, customers, invitees and employees;
Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading deck found on the first floor of the Property despite
notice of employees and customers using said area;

Mopped or otherwise diverted water or other Hquids into an area that would be
susceptible to trip, slip and falis;

Carelessly and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

Allowed water leaks or other liquid substance to remain within the Property for an
unreasonably long period of time;

. Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous

and hazardous condition;

Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

Failed to properly manage the Property;

Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the

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Property.

113. That as a direct and proximate result of one or more of the aforesaid careless and negligent
acts or omissions of the Defendant, MARIANO’S aka MARIANO’S FRESH MARKET, KENDALL L.
PERRY was caused to and did slip and trip and fall to the ground.

114. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL ~
L, PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or loss from said collision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large
sums of money and the Plaintiff has been and in the future will be prevented from attending to his
usual affairs and duties.

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, MARIANO’S aka MARIANO’S
FRESH MARKET, for a sum of money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and
such additional amounts as the jury and the Court shall deem proper and appropriate under the

circumstances provided herein, inclusive of the costs of bringing this action.

COUNT VII
NEGLIGENCE AGAINST THE KROGER CO.

115. That on or about May 8, 2019, Defendants, THE KROGER CO., was a Foreign

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Corporation that is registered to do business in the state of Illinois with its Principal Office located at 1014
Vine St., Cincinnati, Ohio 45202, and its agent located at 801 Adiai Stevenson Drive, Springfield, Hinois
62703. That upon information and belief, Co-Defendant ROUNDY’S ILLINOIS, LLC, operates as a wholly
owned subsidiary of THE KROGER CO.

116. That on or about May 8, 2019, and for a long time prior thereto, the Defendant, THE
KROGER CO., individually and collectively owned, leased, operated, 1800 W. Lawrence Avenue,
Chicago, Illinois 60640 aka MARIANOS and hereinafter referred to as the (“Property”).

117. That on or about May 8, 2019, title to the Property was in the name of MARIANOS.

118. That on or about May 8, 2019, the Property was leased to, managed, controlled, possessed,
and operated by the Defendant, THE KROGER CO.

119. That on or about May 8, 2019 and for a long time prior thereto, the Defendant, THE
KROGER CO., individually or jointly contracted with a third parties for cleaning, maintenance, custodial,
repair, management and janitorial services to and for the Property.

120. That on or about May 8, 2019, KENDALL L. PERRY was an invitee, delivery person,
employee of third-party company, permitted to be, and lawfully upon the Property.

121. That on or about May 8, 2019, KENDALL L. PERRY was walking within the first floor
near elevator in the back room of the delivery area/loading dock on the Property when he tripped, slipped
and was caused to and fall directly to the floor and ground below.

122. On or about May 8, 2019, the Defendant, THE KROGER CO., had installed, conducted
repairs to, cleaned, inspected, serviced and maintained the flooring near the elevator in the back room of
the delivery area/loading dock found on the first floor of the Property

123. On or about May 8 2019, the Defendant, THE KROGER CO., failed to warn the Plaintiff
of the dangerous and hazardous wet, slippery and improper condition of the flooring near elevator in the
back room of the delivery area/loading dock found on the first floor of the Property.

124. On or about May 8, 2019, the Defendant, THE KROGER CO., by and through its agents,
employees and servants did not properly clean, repair and maintain the flooring near and within the back

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room of the delivery area, near the first elevator on the first floor on the Property.

125. On or about May 8, 2019, the Defendant, THE KROGER CO., failed to properly inspect
the flooring near and within the back room of the delivery area, near the first elevator on the first floor on
the Property to determine whether it was proper for safe usage by invitees, customers, patrons, employees,
and the public.

126. The Defendant, THE KROGER CO., was responsible for maintaining, cleaning, repairing,
securing, and preventing the flooring within and near the elevator in the back room of the delivery
area/loading dock found on the first floor of the Property from being unsafe for usage by invitees,
employees, and the public.

127. Onand prior to May 8, 2019 THE KROGER CO., had notice and knowledge of the flooring
near the elevator in the back room of the delivery area/loading dock found on the first floor of the Property
of being dangerous and hazardous and susceptible to trip, slip and falls.

128. On and prior to May 8, 2019, THE KROGER CO., had notice and knowledge of the
flooring within the first floor near elevator in the back room of the delivery area/loading dock found on the
first floor of the Property being a location where water, oil, slippery or other wet substances occurred and
was susceptible to trip, slip and falis.

129. On and prior to May 8, 2019, THE KROGER CO., had notice and knowledge of a leak,
condensation, or other water leaking and pooling near the elevator in the back room of the delivery
area/loading dock found on the first floor of the Property.

130. That it then and there became and was the duty of the Defendant, THE KROGER CO., to
exercise reasonable care to maintain, monitor, repair, inspect, clean, remove liquids, and construct the
flooring near elevator in the back room of the delivery area/loading dock found on the first floor of the
Property in a reasonably safe condition for the safety of the general public, its patrons, customers, invitees,
the Plaintiff, and those persons lawfully upon and around said Property.

131. That not regarding its duty aforesaid, the Defendant, THE KROGER CO., by its duly

authorized agents, servants and/or employees, was guilty of one or more of the following careless and

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negligent acts and/or omissions:

a.

Failed to inspect the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property and maintain it in a safe
condition;

Failed to warn invitees and patrons, including the Plaintiff, that the flooring near the in
the back room of the delivery area, near the first elevator on the first floor of the
Property was unsafe and hazardous;

Failed to repair the unsafe and hazardous condition for an unreasonably long period of
time;

Failed to properly maintain the flooring near elevator in the back room of the delivery
area/loading dock found on the first floor of the Property;

Careljessly and negligently undertook or failed to undertake a maintenance, repair,
cleaning or construction project to repair the flooring near elevator in the back room
of the delivery area/loading dock found on the first floor of the Property which created
a dangerous and hazardous condition to patrons, customers, invitees and employees;
Failed to remove liquids on the flooring near the in the back room of the delivery area,
near the first elevator on the first floor on the Property creating a dangerous and
hazardous condition;

Failed to place wet flooring or caution signs on the flooring near elevator in the back
room of the delivery area/loading dock found on the first floor of the Property despite
notice of employees and customers using said area;

Mopped or otherwise diverted water or other liquids into an area that would be
susceptible to trip, slip and falis;

Carelessiy and negligently supervised, trained, or contracted with a third party to
repair, clean, maintain, service, and inspect the Property;

Allowed a leak or runoff directly into an area which created a dangerous and hazardous
condition;

Failed to secure, repair or maintain carpeting, matting or other coverings in and near
the flooring near elevator in the back room of the delivery area/loading dock found on
the first floor of the Property;

Allowed water leaks or other liquid substance to remain within the Property for an
unreasonably long period of time;

Unnaturally diverted liquids or a liquid substances on the Property causing a dangerous
and hazardous condition;

Failed to repair a leak, puddle or other pooling of water/liquids from a cooler or freezer,
despite thereof;

Failed to properly manage the Property;

Allowed waters or other liquid substances to leak and pool in the back room of the
delivery area, near the first elevator on the first floor on the Property; and

Was otherwise careless and negligent in the control, cleaning, design, repair,
maintenance, construction, and service of the flooring on the first floor near elevator
in the back room of the delivery area/loading dock found on the first floor of the

Property.

132.  Thatas a direct and proximate result of one or more of the aforesaid careless and negligent

acts or omissions of the Defendant, THE KROGER CO., KENDALL L. PERRY was caused to and did slip

and trip and fall to the ground.

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133. That as a direct and proximate result of the aforesaid, the Plaintiff, KENDALL L.
PERRY, suffered diverse injuries, both internally and externally, of a permanent and lasting nature,
which have caused and will continue to cause pain in body and mind; and the Plaintiff, KENDALL
L. PERRY, was caused to expend and in the future will be compelled to expend, large sums of
money for medical care, treatment and services in endeavoring to be cured of said injuries; and the
Plaintiff suffered and will continue to suffer in the future acute and prolonged physical and mental
pain and suffering; the Plaintiff has suffered and will continue to suffer in the future permanent
disfigurement and/or disability; the Plaintiff has experienced and will continue to experience in
the future loss of a normal life; the Plaintiff was caused to expend large sums of money in
endeavoring to repair and/or replace property damage and/or ioss from said coilision; the Plaintiff
was caused to and in the future will lose much time from his employment, thereby incurring losses of large
sums of money and the Plaintiff has been and in the future will be prevented from attending to his
usual affairs and duties.

WHEREFORE, Plaintiff, KENDALL L. PERRY, by and through his attorneys, SHERWOOD
LAW GROUP, LLC, hereby prays for judgment against Defendant, THE KROGER CO., for a sum of

money in excess of FIFTY THOUSAND DOLLARS [$50,000.00], and such additional amounts as the jury

and the Court shall deem proper and appropriate under the circumstances provided herein, inclusive of the

costs of bringing this action.

Respectfully Submitted,

SHERWOOD LAW GROUP, LLC

ADAM M. GILBERT
amg@sherwoodlawgroup.com
Attorney for Plaintiff

 

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*

JASON H. SEERWOOD

ADAM M. GILBERT
SHERWOOD LAW GROUP, LLC
218N. Jefferson, Suite #401

Chicago, Illinois 60661

Phone: 312.627.1650

Fax: 312.648.9503

Attomey No. 47294

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Case: 1:21-cv-02466 Document #: 1 Filed: 05/07/21 Page 34 of 49 PagelD #:34

   

CSC

CRH/ ALL
Transmittal Number: 23038362

Notice of Service of Process Date Processed: 04/41/2021

Primary Contact: Venessa C. Wickline Gribbie

The Kroger Co.

1014 Vine Street
Cincinnati, OH 45202-1100

 

Entity:

Entity Served:

Title of Action:
Matter Name/ID:
Document(s) Type:
Nature of Action:
CourtfAgency:
Case/Reference No:
Jurisdiction Served:
Date Served on CSC:
Answer or Appearance Due:
Originally Served On:
How Served:

Sender Information:

The Kroger Co.
Entity ID Number 2171751

The Kroger Co.

Kendall L. Perry vs. Roundy's Supermarket, Inc.
Kendall L. Perry vs. Roundy's Supermarket, Inc. (14131868)
Summons/Complaint

Personal injury

Cook County Cireuit Court, IL

2021L003230

illinois

04/09/2021

30 Days

csc

Personal Service

Adam M. Gilbert
312-627-1650

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). it does not
constitute a iegal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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Summons - Alias Summons (12/31/15) CCG N0O1

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Kendall L. Perry o. 20211003230

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¥.
Roundy's Supermarket, Inc., et al

 
  

  

The Kreger Co.
illinois Corporation Service C
801 Adlai Stevenson Dr.

Springfield, IL 62703

 

 
 

 

 
   

 

SUMMONS [7] ALIAS - SUMMONS

To each defendant:
YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the

following location:

IMRichard J. Daley Center, 50 W. Washington, Room 801 ;Chicago, Iinois 60602
[1District 2 - Skokie [District 3 - Rolling Meadows (District 4 - Maywood

5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.

Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
[]District 5- Bridgeview (District 6 - Markham [Richard J. Daley Center

10220 S. 76th Ave. 16501 S. Kedzie Pkwy. 50 W. Washington, LL-01

Bridgeview, IL 60455 Markham, IL 60428 Chicago, IL 60602

You must file within 30 days after service of this Summons, not counting the day of service.

IF YOU FAIL TO DO S80, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:
This Summons must be returned by the officer or other person to whom it was given for service, with endorsement

of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thirty (30) days after its date.

 

Atty. No.: 47294 Witness:
Name: Sherwood Law Group LLC 3/25/2021 2:52 PMTRIS Y. MARTINEZ
Atty. for: Plaintiff | DORO BROV yee ao

    

 

Address: 2318 N. Jefferson Street, Ste. 401

City/State/Zip Code: Chicago, I. 60661 Date of Service:

 

 

 

Telephone: 312-627-1650 (To be inserted by office: cof
Primary Email Address: ins@sherwoodiawgroup.com

. **8ervice by Facsimile Transmission will be accepted at:
Secondary Email Address(es}:

mas@shenwoodlawgroup.com

 

mer@sherwoodlawgroup.com (AreaCode) (Facsimile Telephone Number)

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, LLLINOIS
Page 1 of i
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JRB/CKK 38517-76-93 ARDC #6278964

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

KENDALL L, PERRY,

Plaintiff, Case No.

Judge:
Magistrate Judge:

ROUNDY’S SUPERMARKET, INC.,
RAVENSWOOD STATION LLC,
TAXMAN CORPORATION, K531
ROUNDY’S ILLINOIS (MARIANO’S),
ROUNDY’S ILLINOIS, LLC, d/b/a
MARIANO’s and MARIANO’s aka
MARIANO’s FRESH MARKET and
THE KROGER CO.

Defendants.

Name! re me ema eee” Smee eee! nage” gee” Sue!” Same! Snare” eee” Set” See” See” Snag”

AFFIDAVIT OF CYNTHIA LUKEN

The undersigned, Cynthia Luken, on behalf of the Defendants, ROUNDY’S
ILLINOIS, LLC d/b/a MARIANO’s (incorrectly sued as Roundy’s Supermarket, Inc., K531
Roundy’s [linois (Mariano’s), and Mariano’s aka Mariano’s Fresh Market) and THE
KROGER CO., having first been duly sworn, depose and states as follows:

1. My name is Cynthia Luken. I am over eighteen years of age and
my business address is THE KROGER CO., 1014 Vine Street, Cincinnati, Ohio
45202. Lam fully competent to make this affidavit and have personal knowledge of
the facts stated herein and they are all true and correct.

2. Tam a Paralegal for THE KROGER CO.

3. THE KROGER CO. is an Ohio corporation that was incorporated in '

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Case: 1:21-cv-02466 Document #: 1 Filed: 05/07/21 Page 37 of 49 PagelD #:37

1902 in the State of Ohio and which is licensed to conduct business in Illinois and
with its principal place of business located at 1014 Vine Street, Cincinnati OH,
45202.

4. ROUNDY’S ILLINOIS, LLC d/b/a MARIANO’S is a subsidiary
company of THE KROGER CO. acquired in 2015. ROUNDY’S ILLINOIS, LLC
d/b/a MARIANO’S was the entity having ownership, management, control,
possession or other interest in the day to day operations of the store located at 1800
W. Lawrence Avenue, Chicago, Illinois on the date of the alleged incident, May 8,

2019.

5. At all times herein mentioned, the principal owner of Defendant, ROUNDY’S ILLINOIS,
LLC, d/b/a MARIANO’S, was Roundy’s Supermarkets, Inc., a Wisconsin corporation with its principal
offices at 875 East Milwaukee Avenue, Milwaukee, WI 53202. Roundy’s Supermarkets, Inc., was
incorporated in the State of Wisconsin.

6. The KROGER CO. is merely the parent company of several corporations including to
ROUNDY’S ILLINOIS, LLC.

7. THE KROGER CO. had no ownership, control, possession or other interest in the
day-to-day operations of, nor did it employ any store associate who worked at, ROUNDY’S
ILLINOIS, LLC d/b/a MARIANO’S located at 1800 W. Lawrence Avenue, Chicago, Illinois, on the
date of the alleged incident, May 8, 2019.

8. THE TAXMAN CORPORATION is the managing agent for RAVENSWOOD
STATION, LLC, which is the ownership entity for the property ROUNDY’S ILLINOIS d/b/a
MARIANO’S leases and operates a grocery store located at 1800 W. Lawrence Avenue, Chicago,
Illinois as of May 8, 2019.

9. RAVENSWOOD STATION, LLC and TAXMAN CORPORATION also had no

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Case: 1:21-cv-02466 Document #: 1 Filed: 05/07/21 Page 38 of 49 PagelD #:38

ownership, control, possession or other interest in the day-to-day operations of, nor did it employ
any store associate who worked at, ROUNDY’S ILLINOIS, LLC d/b/a MARIANO’S located at

1800 W. Lawrence Avenue, Chicago, Illinois, on the date of the alleged incident, May 8, 2019.

THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK

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Case: 1:21-cv-02466 Document #: 1 Filed: 05/07/21 Page 39 of 49 PagelD #:39

Under penalties of perjury as provided by law, the undersigned certifies that the
statements set forth m this instrument are true and correct, except as to matters therein stated
to be on information and belief and as to such matters the undersigned certifies as previously
mentioned that she verily believes the same to be true.

Dated this 6" day of May, 2021.

FURTHER AFFIANT SAYETH NOT.
THE KROGER CO.

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Cynthia Luken
Paralegal-Insured Litigation

 
    

 
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Bs. Caution
As of. May 7, 2019 8:57 PM 7

McCoy v. GMC

United States District Count for the Northern District of tilinois, Eastern Division
October 16, 2002, Decided ; October 17, 2002, Docketed
No, 02 € 4983

Reporter

226 F. Supp. 2d 939 *; 2002 U.S. Dist. LEXIS 19751 **

RONALD McCOY, a minor, by his mother and next friend SHERRY WEBB and PHILIP McCLAIN, a minor, by his
mother and next friend, MARGIE WEBB and SHERRY WEBB, individually, Plaintiffs, v. GENERAL MOTORS

CORP., Defendant.

Disposition; (1) Defendant's motion for reconsideration of order of remand to Circult Coun and reinstate case
denied,

Core Terms

removal, damages, notice, cases, days, jurisdictional amount, permanent injury, Plaintiffs’

Case Summary

Procedural Posture
Piaintiffs, two minors, by their mothers and neat of friends, filed a product liability suil against defendant corporation

and alleged that injuries caused to them during a car accident resulted from a defect in the corporation's vehicie.
Tha corporation removed the case on the basis of diversity jurisdiction. The case was remanded to state court for
failure to timely remove the case. The corporation moved for reconsideration of the remand.

Overview
In their complaint, the plaintiffs claimed that each occupant of the vehicle sustained lasting and permanent injuries.

Along with is answer to the complaint, the corporation requested an admission from the plaintiffs that they sought
damages in excess of $ 75,000, the amount necessary for federal diversity jurisdiction. When the plaintiffs did not
respond on time, the corporation filed its notice of removal, The district court remanded the action to state court
holding that t was apparent from the face of the complaint that the amount in controversy exceeded $ 75,000. On
the corporation's motion for reconsideration, the district court found that U.S. Dist. Ct, N.D. tll. E. Div, R. 81.2 did
net obviate the corporation's responsibility to ascertain from a reasonable and common-sense reading of the
complain! whether the action was removable. Since the plaintiffs’ complaint alieged severe and permanent injuries,
and sought damages for jost income, the corporation surely was on notice that the case was removable and
should have removed the case within 30 days of receipt of the complaint. Because the corporation did not da so, its

removal was untimely under 28 ULS.C.S. § 1446(b).

Outcome
The comoration’s motion to reconsider and reinstate the case was denied.

LexisNexis® Headnotes

EXHIBIT

 
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226 F. Supp. 2¢ 939, °939; 2002 U.S. Dist. LEXIS 19751, **4

Civil Procedure > ... > Removal > Procedural Matters > Generai Overview
HN) Removal, Procedurai Matters

Removai of a civil action is governed by 28 U.S.C.S, § 1446(6).

Civil Procedure > |. > Remaval > Procedural Matters > General Overview
HN2ck} Removal, Procedural Matters

See 26 U.S.C.S. § 1446(b).

Civil Procedure > ... > Diversity Jurisdiction > Amount in Controversy > General Ovarview
Civil Procedure > ... > Methods of Discovary > Requests for Admissions > General Overview

Civil Procedure > ... > Methods of Discovery > Requesis for Admissions > Responses to Requaste for
Admissions

HN3j%| Divarsity Jurisdiction, Amount in Controversy

Removal {o the federad distric! courts in Illinois is aided by U.S. Dist. Ct, NLD. iH, E Div, R. 81.2, which provides a
procedure for defendants faced with a complaint alleging a damages amount that satisfies the Illinois jurisdictionat
Minimum but is below the federal jurisdictional amount in controversy, U.S. Dist. Ct, N.D. iL, E. Div, R. 81.2
fequiras removing defendants to file along with their notice of removal: (1) @ Statement that the defendant in good

faith believes the amount in controversy exceeds the jurisdictianal amount; and (2) @ response by the plaintiff to an
interragatory or request for admission Stating that the damages sought exceeds $ 75,000.

Civil Procedure > ... > Removal > Procedural Matiers > General Overview
Civit Procedure > ,,. > Removal » Specific Cases Removed > General Overview

HN&&) Removal, Procedural Matters

The United States District Caurt for the Northern District of Hlinols, Eastern Division finds that U.S. Dist. Ct.. N.D. fl.
E. Div., R. 81.2 does not obviate a defendant's responsibility to ascertain from a reasonable and common-sense
reading of the complaint whether an action is removable. Nor does U.S. Dist. Ct. NLD. HL, E. Oiv., R. 81.2 provide a
safe harbor that encourages the defendant to wait for discovery responses that simply confirm what was obvious
from the face of the complaint: in such cases, the defendant is not insulated from @ femand to state court.

Civil Procedure > ... > Diversity Jurisdiction > Amount in Controversy > General Overview
Torts > ... > Compensatory Damages > Types of Losses » Permanent Injuries
Civit Procedure > ... > Removal > Procedural Matters > Ganeral Overview

HN5%) Diversity Jurisdiction, Amount in Controversy

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226 F. Supp. 2d 939, “839; 2002 U.S. Dist, LEXIS 19754, **4

Courts have routinely held that when a plaintiff alleges serious, permanent Injuri@s and significant medical
expenses, it is obvious from the face of the complaint that the piaintiff's damages exceed the jurisdictional amount,
thus triggering the 30-day removal! period under the first sentence of 26U.8.C.8. § 1446(b).

Civil Procedure > ... > Removal > Procedural Matters > Time Limitations
Governments > Courts > Rute Application & Interpretation
Civil Procedure > ... > Removal > Procedural Matters > General Overview

HN6{%.) Procedural Matters, Time Limitations

The United States District Court for the Northern District of llinois, Eastern Division finds that to the extent that U.S.
Dist. Ci, N.D. WL, E. Div. R. 81.2 provides the exclusive procedure by which a defendant may remove Hlinois state
complaints that jack an express ad damnum clause, it impermissibly contravenes the federal removal Statute. A
loca! rule may not limit or contravene the plain language and intent of a federal statute. Fed. R. Civ. P. 83, The first
sentence of 28 .3.C.S. § 1446(b) does not specifically define what triggers removability in the initial cormplaint, but
the intent of the 30-day time timit for removal Is to resolve the issue of removal as soon as possible and allow the
tase to proceed without fear of uprooting the proceedings and transplanting them sisewhere. Although the 30-day
time limit in 2B U.S.C.S. § 1446(b) is not jurisdictional, it is mandatory and strictly applied. The defendant bears the
burden of establishing removability. and ail doubts about federal jurisdiction are reselved in favor of remand fo state
court. By mandating an exclusive procedure by which defendants must remove & particular class of complaints in
lKinois, a procedure that can never satisfy the 30-day initial-pleading time limit under § 1446(b), Rule 81.2 interferes
with the federal removal statute's policy of expediting proceedings in the appropriate forum.

Counsel: For RONALD MCCOY, PHILLIP MCLAIN, plaintiffs: Timothy R. Tyter, Tyler & Porter, Chicago, IL,
For GENERAL MOTORS CORPORATION, defendant: Louis Anthony Lehr, Mai Lin Petrine Noftke, Lord, Bissell &
Brook, Chicago, IL.

Judges: Ruben Castillo, Judge, United States District Court.

Opinion by: Ruben Castilio

Opinion

['940] MEMORANDUM OPINION AND ORDER

Plaintiffs filed a product fability suit in the Circuit Court of Cook County, Hlinois, against defendant General Motors
Corporation ("General Motors"), alleging that injuries caused to the minor plaintiffs during a car accident resulted
from a defact in a General Motors vehicle. General Motors removed the case tc federal court on the basis of
Glversity jurisdiction. This Court remanded the case fo state court for failure to timely remove the case. Genera!
Motors now moves for reconsideration of the remand, For the reasons set out herein, we deny General Motors’

motion. (R. 6-1.)

RELEVANT FACTS

On April 12, 2002, Plaintis filed a product liability complaint in the Circuit Court of Cook County. Plaintiffs allege
that the brakes (“2] on theit General Motors' vehicle failed causing the vehicle to crash into Bh oncoming car.

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226 F. Supp. 2d 939, °940; 2002 U.S. Dist, LEXIS 197841, **2

Plaintiffs claim that each occupant of the vehicle sustained “lasting and permanent injuries” and other damages
including "severe pain, emotional distress, disability, lost value and enjoyment of life, future loss of income, medical
expenses, loss of normal life, disfigurement and paralysis," {R. 4, Notice of Removal, Ex. A, Compl. PP 10, 13.) In
accordance with the Illinois Rules of Civil Procedure, which prohibit express ad damnum clauses In personal injury
complaints, Plaintifis requested damages for each count only in the amounts necessary to comply with ilinols
Circuit Court's rules of assignment [in this case $ 50,000). 738 ILCS § 5/2-604,

On May 20, 2002, General Motors filed an answer to the complaint and simultaneously requested an admission
from the plaintiffs that they were seeking damages in excess of $ 75,000, the amount necessary for diversity
jurisdiction in federal court. See 28 U.S.C. § 1332. Plaintiffs’ response was due on or before June 17, 2002. The
information requested would be deemad admitted # Plaintiffs did not respond by that date. ("*3) See i. Sup. Ct. R.
216. Plaintiffs did not respond until duly 3. On July 15, 2002, within a0 days after the due date of the response to
the request for admission, as well as within 30 days of Defendant's actual receipt of the plaintiffs’ admission that
their alleged damages exceeded $ 75,000, General Motors filed its notice of removal. This Court remanded the
&ction to the Circuit Court of Cook County, holding that it was apparent from the face of Plaintiffs’ complaint that the
amount in controversy exceeded the $ 75,000 jurisdictional minimum. Defendant timely filed the instant motion to

reconsider.

ANALYSIS
ANF} Removal is governed by 28 U.S.C. § 1446{b), HN2'¥] which states in pertinent part:

The notice of removal of a civil action or proceeding shall be filed within thirty [°'941] days after the receipt by
the defendant , . . of the initial pleading setting forth the claim for relief upon which such action Of proceeding is
based . .. . If the case stated by the initial pleading is not ramovable, a notice of removal may be filed within
thirty days after receipt by the defendant... of a copy of an amended plsading, motion, order or other paper
from which ["*4] 1 may first be ascertained that the case is one which is or has become removabie,

28 U.S.C. § 1446(b).

HNGF} Removal to the federal district courts in Iinois also is aided by Local Rule 81.2, which provides a
procedure for defendants faced with a complaint alleging a damages amount that satisfies the iliinois jurisdictional
minimum but is below the federal jurisdictional amount in controversy. Local Rule 81.2 requires removing
defendants to file along with their notice of removal: (1) a statement that the defendant in gocd faith believes the
amount in controversy exceeds the jurisdictional amount: and (2) @ response by plaintiff to an interrogatory or
request for admission stating that the damages sought exceeds $ 75,000. ,

General Motors argues in its motion to reconsider that its removal was proper and timely because it complied with
the procedure outlined in Local Rule 81.2. But HN4[F] we do not believe that this Local Rule obvistes a
defendant's responsibility to ascertain from a reasonable and common-sense feading of the complaint whether tha
action is removable. Roberson v. Orkin Exterminating Co., 770 F. Supp. 1324, 1328-28 (ND. ind. 1991). [°*8) Nor
does the Local Rule provide a safe harbor that encourages defendants to wait for discovery responses that simply
confirm what was obvious from the face of the complaint: in such cases, defendants are not insulated from 6
femand to state courl. See, ¢.g., Century Assets Corp. v. Solow, BB F. Supp. 2d 659. 662 (E.D. Tex. 2000)
(rejecting on policy grounds defendant's argument that cases are not removable until there has bean an absolute
affirmation via discovery request that more than $ 75,000 wes in issue).

In this case, as this Court noted in its initial minute order femanding this case, it is obvious from a common-sense
reading of the complaint that Plaintiffs were seeking in axcess of § 75,000 in damages. Plaintiffs alleged that they
suffered “lasting and permanent injuries" and incurred bills related to “medical, surgical, hospital, and nursing care
for their injuries” as weil as “[lost] wages and profits which they otherwise would have earned and acquired.” {R. 4,
Notica of Removal, Ex. A, Compl. PP 10, 13.) Plaintiffs further claimed that they suffered "severe pain, emotional
distress. disability, fost value and enjoyment of fife, future joss of income, 8] medical expanses, toss of normal
life, disfigurement and paralysis.” (/¢, et P 13.) In the parlance of product liabilily suits, these statements should

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226 F. Supp. 2d 939, *841: 2002 U.S. Dist. LEXIS 18751, “6

sound warning bells in defendants’ ears that significant damages are sought. Indeed, HNS|®] courts have routinely
hed that when plaintiffs allege serious, Permanent injuries and significant medical expenses, it is obvious from the
face of the complaint that the plaintiffs’ damages exceeded the jurisdictional amount, thus triggering the 30-day
removal period under the firs! sentence of § 1446(b}. See Huntsman Chem. Corp. v. Whitehorse Tech. 1897 U.S.
Dist. LEXIS 43282, 1997 Wi. 548043, at “5 (N.O. Hl. Sept. 2, 1987}. Ses also Caneton v CRO indus. Inc., 49 F,
Supp. 2d 961, 962 (S.D. Tax. 1999) (canciuding that it was “undeniably facially apparany" that plaintiffs damages
exceeded $ 75,000 because he alleged that he contracted leukemia from defendant's chemicals}: Roberson, 770 F.
Supp at 1329; Tumer v. Wilson Foods Com. 7it F. Supp. 624, 626 ("842} (N.D. Ga. 1888) (holding that
allegations in complaint that plaintif suffered severe burns, permanent scarring, pain and suffering, and [**7]
medical expensas provided defendan! with sufficient information to ascertain removability); Mielke v. Allstate ins.
Co., 472 F. Supp. 851, 853 (E.D. Mich, 1979) ("there is no reason to allow a defendant additional time if the
presence of grounds for removal are unambiguous in light of the defendant's knowledge and the claims made in the
initial complaint"}: Lee v. Aitami! Corp., 457 F. Supp. 979, 981 (M.D. Fla. 1978), Horak v. Color Metal of Zurich, 285
F. Supp. 603, 606 (D.N.J. 1968) (holding that where complaint alleges that plaintiff suffered loss of right arm,
defendant on notice that claim axceeds furisdictional arnount). But of Height v. Southwest Ainines, inc., 2002 U.S.
Dist. LEXIS 13880, 2002 WW. 1759800, at *4 (N.D. Ith, July 29, 2002); Ford v. Mannesmann Dematic Com., 2000
U.S. Dist. LEXIS 14560, 2000 WL 1469371, at °3 (N.D. HI. Oct. 2, 2000); Abdishi v. Phillip Morris, tnc., 1998 U.S.
Dist. LEXIS 8640, 1998 WL 311994 73 (N.D, Hi, June 4, 1898). 1 Thus, because piaintifis, two of wham are minors,
alleged severe and permanent injuries, including paralysis, and sought damages for jost income General Motors
surely (8) was on notice that the case was removable and it should have removed the case within 30 days af

receipt of the complaint. 2

{"*8}] Moreover, HNELF) fo the extent that Local Rula 81.2 provides the exclusive Procedure by which defendants
may remove Illinols state complaints that lack an express ad damnum Clause, we believe that it impermissibly
contravenes the federal removal statute, A Local Rule may not limit or contravene the plain language and intant of s
federal statute. See Fed. R. Civ. P, 83 ([a} local rule shall be consistent with - but not duplicative of — Acts of
Congress"); 28 U.S.C. § 2071{a) (local court rules “shall be consistent with Acts of Congress"): United States vy.
Claros, 17 F.3d 1044, 1044-45 (7th Cir. 1994) (stating that "[a} local rule may not be inconsistent with the
Constitution, a statute of the United States, or with a national rule governing the conduct of litigation in the United
States courts"). The first sentence of § 1446(b) does not specifically define what tiggers femovability in the iniial
compiaint, but the intent of the 30-day time limit for removat is "to resolve the issue of rernoval as soon as possible
and ailow the [943] case to proceed . . . without fear of uprooting the proceedings and transplanting them
elsewhere.” [10] See Huntsman, 1997 U.S. Dist. LEXIS 13282, 1997 WL 546043, at *§. Although the 30-day
time limit in § 1446(6) is not jurisdictional, it is mandatory and strictly applied. Dorezio v. UAL Corp., 2002 US, Dist.
LEXIS 18809, 2002 WL 31236290, at °3 (N.D. ill. Oct. 2, 2002). See also Shamrock Oi & Gas Comp. v. Sheets, 413
U.S. 160, 108-09, 85 L. Ed. 1214, 6t S. CL BAB (1941), The defendant bears the burden of establishing
ramovability, and ail dowbts about federal jurisdiction are resolved in favor of remand to state court. Perry v. Willis,

 

‘We recognize that our holding in this case conflicts wih recent opinions of some of our distrie? court coliaagues. We believe,
however, that those cases are distingulshable on their facts, @specially since the plaintiffs in those cases were not minors, and
did not plead the same serious, permanent injuries, paralysia and lass of income as the plaintiffs in this case, Moreover, as
discussed below, pur decision in thls case stems from our fundamental disagreement with the premise, apparently assumed in
those cther cases, that the blanket application of Loca! Rule 81.2 is required in all cases ramaved from fiineis state court where

&n express ad damnum is lacking.

"We ara cognizant that the intemiay between the Minis statute forbidding an ad dermnum in personal injury actions and the §
75,000 jurisdictional minimum of 28 U.S.C. § 1332 may create confusion or subject defendants te the burden of either multiple
fernovals or an untimely removal. But the potential burden of multiple removals is no mare inefficient thar fiting an answer and
discovety requests prior fo seeking removal. Moreover, oftentimes a defendant's initial removal will be sufficient beacause the
federal count will agree with the defendent’s good-faith appraisal of the damages sought in the complaint. Evan if a defendant
prematurely removes a case based on his mistaken, bul good-faith, bellaf thet en action meets the jurisdictional amount, he Is
not prejudiced In federal court because there is no prohibition on a subsequent removal if the action later meets federat diversity
jurisdiction requirements. See Benson v. Si Handling Sys., inc. 188 F.3d 78C, 782 {7th Cir. 1999}. .

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226 F. Supp. 2d 939, °943; 2002 US. Dist, LEXIS 19751, **40

110 F. Supp, 2d 1197, 1198 (£.D. Mo. 2000). By mandating an exclusive Procedure by which defendants must
remove a particular class of complaints in Ilinois, a procecure that can never satisfy the 30-day initiakpleading time
limit under § 1446(b}, Locai Rule 81.2 interferes with the federal removal statute's policy of expediting proceedings
in the appropriate forum. Accordingly, we doubt the Local! Rule's general applicability as an exclusive mode of
semovai in liinols, as well as its specific application in this case,

For the foregoing reasons, we hold thei the removability of Pisintiffs’ suit was obvious from the face i**11] of the
Complaint, and that therefore General Motors should have removed the case within 30 days of receiving the initial
complaint. Because it dic not do so, its removal was untimely under 28 U.S.C. § 1448(b), and therefore Defendant's
motion to reconsider and reinstate the case is denied. (R. 6-1.)

ENTERED:
Judge Ruben Castillo

United States District Court
Dated: October 46, 2002

 

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As of. May 7, 2019 9:03 PM Z

Varkalis v. Werner Co,

United States District Court for the Norther District of ifinois, Eastern Division
August 18, 2010, Decided: August 18, 2010, Filed
No. 10 € 03334
Reporter
2010 U.S. Dist, LEXIS 84870 *: 2010 WL 3273493

MARY VARKALIS, as independent Administrator of the Estate of MICHAEL VARKALIS, Plaintiff, v. WERNER CO.
& LOWE'S HOME CENTER INC., d/b/a LOWE'S Defendants.

Core Terms
femoval, notice, amount in controversy, days, original complaint, diverse

Counsel: {*1) For Mary Varkalis, estate of Michael Varkalis, Plaintiff: Martin A. Dolan, Dolan Law Offices, P.C.,
Chicago, IL.

For Wemer Co., Lowe's Home Centers, doing business as Lowe's, Defendants: Michael Joseph Meyer, LEAD
ATTORNEY, Eric Franklin Long, Stephen Sloan Weiss, Tribler Orpett and Meyer, P.C., Chicago, IL.

Judges: Blanche M. Manning, United States District Judge.

Opinion by: Blanche M. Manning

Opinion

MEMORANDUM AND ORD

The defendants removed the instant lawsuit from the Circuit Court of Cook County and the plaintiff has filed a
motion to remand. Fer the reasons stated below, the motion is granted,

1. FACTS

Defendant Wemer Co. C' Werner’) allegedly manufactured and designed a nine-foot fiberglass stepladder sold by
Defendant Lowe's Home Centers Inc. ("Lowe's"). On or around December 21, 2008, Michael Varkalis was using the
Stepladder in his garage when it buckled and Michael fell and struck his head on the garage floor. Ha suffered

irreversibie brain damage and died on August 18, 2009,

fl. PROCEDURAL HISTORY

On March 15, 2010, Mary Varkalis, as independent administrator of Michael Varkalis's estate, filed a saven-count
complaint in the Circuit Court of Cock County, Illinois, alleging product liability, negligence, [*2] breach of waranty,
and a Survival Act claim. Specifically, the plaintiff alleged that "fwihite Mr. Varkalis was an the ladder, it buckled,
causing him to fall with great force and violence to the ground below,” Comp. at P6, The complaint further alleged
that “as a direct and proximate rasult of the ladder bucking, Michael Varkalis was severely injured, sustaining
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irreversible brain damage which led to his death on August 18, 2009." fd at P7. The defendants, Werner and
Lowe's, were proparly served on March 22, 2010, and March 24, 2010, respectively,

On April 19, 2010, the defendants fled answers and affirmative defenses to the plaintiff's complaint. tn addition,
they filed a motion to dismiss counts [If and Vi on the ground that the plaintiff should have filed separate causes of
ection for breach of express and implied warranties given that separate recovery was available under each. In
response to the motion to dismiss, on May 19, 2010, the plaintiff fled an amended complaint removing the word
“express” from Counts iif and Vi, and proceeding only with the breach of implied warranty cause of action against
each of the defendants.

On June 1, 2010, the defendants filed a request to [*3] admit facts whereby they requested that the plaintiff admit
that she sought to recover from the defendants an amount in excess of $75,000, exclusive of interests and costs.
One day later, on June 2, 2010, the defendants removed the case to this court pursuant to the court's diversity
jurisdiction, The piaintiff then filed the instant motion to remand on the ground that the removal was untimely.

Hl ANALYSIS

A, Stan for Remova!

28 U.S.C. § 1446(b) states that a notice of removal must "be filed within thirty days after the receipt by the
defendant, through service or otherwise, of a copy of the initial pleadings setting forth the claim for relief upon which
Such action of proceedings is based.” 26 U.S.C. § 1446(b). Any procedural defect in a case being removed to
federal court must be remanded to the state court. Disher v. Citigroup Global Mkts., Inc., 487 F. Supp. 2d 7008,
1015 (5.D, Ili. 2007)(Where there is doubt as to whether the requirements have been satisfied, the case should be
remanded." }{internal citations omitted). Under 28 U.S.C. § 1446(b), a defendant may file a notice of removal within
thirty days from receipt of an amended pleading. See, ¢.9., Benson y. Si Handling Systems, ine., 188 F.3d 780, 782
(7th Cir. 1998}eiting [*4} 28 U.S.C. §1446{b)}, However, Ihis generai rule applies only whan the original complaint
Is not removable. Mortgage Elec. Registration Sys. v. Rothman, No. 04 C 5340, 2005 U.S. Dist. LEXIS 12270, 2005

WL 497794, at “6 (N.D. HH. Feb. 28, 2005).

B, Amount in Controversy

The plaintiff contends that removal was improper as a matter of law because the defendants did not file the notice
of removal within thirty days of service of the original complaint, which was April 21, 2040, Instead, the defendants
filed their notice of removal on June 2, 2010, and maintain that it was timely regardless of the fact that the fing date
was over sixty days from notice of the original complaint, According to what the court understands the defendants to
be arguing, it was only when they received the amended complaint that they became aware of the possibility for
removal because the amount in controversy alleged in the original complaint was not sufficient fo trigger diversity

jurisdiction. |

 

Vil js difficull to cecipher exactly wha! the defendants' atgument is in response to the motion to remand. While on the one hand
they cite to caselaw stating that a defendant may remove within 36 days after receiving a copy of an amended pleading
[°5} from which |t may first be ascertained thal the case is one which is removable, they also argua that they “technically atilf
have not received a pleading. motion, order, or "other paper” to confirm that this case is removable" and thus, "one could argue
that this case is not yet ripe for removel.” Response at 2, Okt, #12 (erriphasis in original). They go on to argue that "{hlowever,
because piaintiff has net contested the removal on the amount in cantroversy issue fang insteac chalienges only as to
timeliness), the Court can reasonably assume that she will seek rnore than $75,000." td. Either way, both of the defendants’

arguments fail for the reasons described leter in this order.
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Diversity jurisdiction exists where the parties ere diverse and where the amount in controversy exceeds $75,000,
not including Interest and costs. See 28 U.S.C. § 1332(a), There is no dispute that the parties are diverse: rather,
the defendants argue that the plaintiff did not adequately state an amount in controversy that would have put the
defendants on notice of the possibility for removal to federal court. According to the defendants, the original and
amended complaint were ambiguous because they sought {*8} only "a sum in excess of the Fhinimal jurisdictional
lirnits of the Law Division of the Circuit Court of Cook County," which amounts to $50,000.

Generally, when a complaint does not express the ad damnum in excess of $75,000, the defendant may fila fis
Femoval notice within thirty days from the plaintiff's admission that they ere seeking mora than $75,000. Height v.
Southwest Aidines, ine., No. 02 C 2854, 2002 U.S. Dist, LEXIS 13880, 2002 WL. 1759800, **2-3 (N.D. 1. Jul 29,
2002); Abdishi v. Phillip Maris, inc, No. 88 C 4310, 1998 U.S. Dist, LEXIS 8640, 1998 WL 34 1981, at *1-3 (NLD, iit,
June 4, 1898). In this case, on June 4, 2010, the defendants filed a fequest to admit facts to establish that the
émount in controversy exceaded $75,000, but did not wait for a Tesponse before filing the notice of removal.

A defendant must employ "a reasonable and commonsense reading" of the complaint to determine remavability.
RBC Mortgage Comp. v. Couch, 274 F. Supp. 2d 865, 969 (N.D. Ill, 2003){ciHing McCoy v. GMC, 228 F. Supp. 2d
939, 947 (ND. iff. 20023). A “defendant fis barred from] circumventling] the thirty-day time limit for removal when it
is obvious that a complaint states a claim for damages in excess of $75,000, even though it is not explicity
[7] stated in its ad damnum clause." Gallo v. Homelite Consumer Prods. 371 F. Supp. 2d $43, 947 (NLD. ili.
2005). Absolute confirmation of the amount in controversy is not necessary where the "plaintiffs allege serious,
permanent injuries and significant medical expenses" which exceed $75,000 on the face of the complaint. Fields y.
Jay Henges Enters., No. 06-323-GPM, 2006 U.S. Dist. LEXIS 47948, 2006 WL 1875487, at *3 (5.0. II. June 30,
2006), See also RBC Morigage Co., 274 F. Supp. 2d at 889 (complaints alleging “serious, permanent injuries” are
“unambiguous(ly)” ripe for removal because tha plaintiff almost certainly will seek more than $75 O00) (citation
omitted); McCoy, 228 F. Supp. 2d at 944 (the 30-day removal period under the first sentence of § 1448(b) is
triggered when the complaint alleges “serious, permanent injurias and significant medical expenses, [and] it is
obvious from the face of the complaint that the plaintiffs’ damages exceed) the jurisdictional] ammount").

Under this standard, the allegations in the original complaint sufficiently afleged the types of serious, permanent
injuries to place the defendants on notice that the plaintiff will “almost certainly" seek more than $75,000 such that
the [8] defendants coud have removed the complaint. The defendants may not restart the tolling clack by
requiring absolute certainty of the amount in controversy. Fields, No. 06-323-GPM, 2006 U.S. Dist. LEXIS 47946,
2006 WL 1875457, at *7 ("defendants should never... be abie to toll the removal clock indefinitely through reliance
on the discovery process to establish jurisdictional prerequisites with absolute certainty"), See also Huntsman
Chem, Corp. v. Whitshorse Techs., No. 97 C 3842, 1997 U.S. Dist LEXIS 13282, 1997 WL 548043, at °5 (N.D, lit.
Sept. 2, 1907)}citing Mietka v. Austale ins. Co., 472 F. Supp. 851, 853 (D.C. Mich. 1979)("there is no reason to
aliow a dafendant additional time if the presence of grounds for femova! are unambiguous in light of the defendant's
knowledge and the claims made in the initial complaint."). Because the removal was untimely, the plaintiffs motion

to remand the case to state court is granted. 2

IV, CONCLUSION

For the reasons stated [*8} above, the motion to remand the case to the Circvit Court of Cook County (8-1] is
granted. The clerk is directed to remand this matter forthwith.

ENTER: August 18, 2010
/s/ Blanche M. Manning

 

2 The plaintiff altematively argues that the defandants walved their right to ramove the case basad on their filng of a partiel
motion to dismiss in state coun. Because the court conciudas that the removal was undmely, it need not address this alternative

basis for remand.
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2010 U.S. Dist. LEXIS 84870, *9

Blanche M. Manning
United States District Judge

 

End of Dacunsal

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